         Case 1:21-cr-00495-ABJ Document 85 Filed 08/07/23 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                        :
UNITED STATES OF AMERICA                :
                                        :
v.                                      :        Case No. 21-cr-495 (ABJ)
                                        :
DANIEL GRAY,                            :
                                        :
                           Defendant.   :


                                        NOTICE

Pursuant to the Court's 8/4/23 order on the Motion to Withdraw, counsel hereby
provides notice to the Court that the Defendant has been served with the motion, the
Court's 8/4/23 minute order, and CJA paperwork pursuant to Rule 44.5(d). In
addition, counsel has been informed that the prior federal defender on this case,
Maria Jacob, is prepared to resume representation. However, she did indicate that
she and her office would need some additional time to prepare for trial greater than
that provided on the current schedule. That is the only reason she has not yet
entered a notice of appearance. Counsel also respectfully informs that Court that he
did indicate to the Magistrate Judge in the Kastner case that the continued trial date
he agreed to in that case was only workable assuming that the motion to withdraw
in this case was granted. If it is not granted, counsel will let that Court know that the
Kastner date will need to be further continued.
Date: August 7, 2023                            Respectfully Submitted,
                                                  /s/ John M. Pierce
                                                 John M. Pierce
                                                 21550 Oxnard Street
                                                 3rd Floor, PMB #172
                                                 Woodland Hills, CA 91367
                                                 Tel: (213) 400-0725
                                                 Email:jpierce@johnpiercelaw.com
                                                 Attorney for Defendant
        Case 1:21-cr-00495-ABJ Document 85 Filed 08/07/23 Page 2 of 2




                          CERTIFICATE OF SERVICE


I hereby certify that, on August 7, 2023, this motion was filed via the
Court’s electronic filing system, which constitutes service upon all counsel
of record.
                                                  /s/ John M. Pierce
                                                  John M. Pierce
